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                  EXHIBIT C




      Filed Under Seal and Subject to Stipulated Protective Order in
          United States, et al. v. Google LLC, No. 20-cv-3010-APM
       State of Colorado, et al. v. Google LLC, No. 20-cv-3715-APM
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM HON.

 v.                                                    AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


 STATE OF COLORADO, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM HON.

 v.                                                    AMIT P. MEHTA
 GOOGLE LLC,

 Defendant.



              PLAINTIFFS STATES’ EXHIBITS OFFERED FOR ADMISSION

       Plaintiff States offer the trial exhibits listed below for admission into evidence, subject to

Google’s ongoing objection to any embedded hearsay contained therein.

 PSX00021                 PSX00027                   PSX00028                PSX00036

 PSX00039                 PSX00062                   PSX00192                PSX00259

 PSX00308                 PSX00314                   PSX00327                PSX00354

 PSX00524                 PSX00546                   PSX00608                PSX00661

 PSX00665                 PSX00838                   PSX00848                PSX00863.004

 PSX00863.005             PSX00864.002               PSX00864.003            PSX00864.004

 PSX00864.006             PSX00866.007               PSX00866.014            PSX00866.018


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PSX00866.019        PSX00866.028        PSX00867.002              PSX00867.003

PSX00867.004        PSX00867.006        PSX00867.016              PSX00867.017

PSX00867.018        PSX00867.022        PSX00867.025              PSX00867.026

PSX00869.003        PSX00869.004        PSX00932                  PSX00965

PSX00993            PSX01042            PSX01065                  PSX01118

PSX01187



 Dated: November 8, 2023                Respectfully submitted,

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